Case 1:05-cr-10024-.]DT Document 11 Filed 05/17/05 Page 1 of 2 Page|D 12

lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE F|LED B¥,_____“__D_C_
EASTERN D|V|S|ON

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. . CLEF?K, U._S. DiS§i`OéIlg
P|alntiff, W- D. OF TN JACKSON
V. Cr. NO. 05-10024-T/An

KE|TH ROB|NSON,

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on May 17, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is appointed:

NAME: Dianne Smothers, Asst. Federal Defender
ADDRESS:

TELEPHONE:

The defendant, through counsell waived formal arraignment and entered a plea of not
guilty.

Ail motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, being held without bond pursuant to BRA of 1984, is remanded to the

g. / M”J

S. THO|V|AS ANDERSON
United States Magistrate Judge

Charges: felon in possession of a firearm
Assistant U.S. Attorney assigned to case: Croom

Ru|e 32 was not waived.

This document entered on the docket sheet in compliance
with Ru|e 55 and/or 32(b) FRCrP on § cg 05 \\

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-10024 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

Jimmy L. Croom

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Honorable J ames Todd
US DISTRICT COURT

